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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  (Miami Division)

                    Case Number:

     MELANIE ORTIZ,

           Plaintiff,

     vs.

     CITY OF MIAMI, a Florida municipal
     corporation; RODOLFO LLANES,
     individually; JORGE COLINA,
     individually; JOSE A. RODRIQUEZ,
     individually; JAVIER ORTIZ,
     individually; FABIO SANCHEZ,
     individually; SHANETTA GREEN,
     individually, and FRATERNAL
     ORDER OF POLICE, WALTER E.
     HEADLEY, JR., MIAMI LODGE NO.
     20,

           Defendants.
                                          /

                                        Complaint

       Count I: Claim Under 42 U.S.C. § 1983 for Violation of Ms. Ortiz’s
           Fifth and Fourteenth Amendment Rights to Due Process

           Plaintiff, Melanie Ortiz, sues defendants City of Miami, Rodolfo Llanes,

     Jorge Colina, Jose A. Rodriquez, Javier Ortiz, Fabio Sanchez, Shanetta

     Green, and Fraternal Order of Police, Walter E. Headley, Jr., Miami Lodge No.

     20, and alleges:




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street !   Fort Lauderdale, FL 33301   !   954.462.1983
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                          Introduction and Summary

        1.    This is an action by Melanie Ortiz, a former City of Miami police

  detective, whom Javier Ortiz — at the time a lieutenant of police, president

  of the union representing the City’s law enforcement officers and a partisan

  of the then-chief of police — bullied into immediately signing an irrevocable

  form-letter of resignation by threatening immediate arrest and ensuing

  media shame. The demanded resignation grew out of a highly publicized

  (but largely unsuccessful) investigation by the Federal Bureau of

  Investigation into “pirate” tow-truck drivers’ paying bribes to get around the

  City’s rotation system for dispatching tow trucks to accident scenes: the FBI

  probe which resulted in a guilty plea by a single Miami police officer who

  took $1,800 in bribes, and the arrests of two police aides; the City of Miami

  made no arrests. The investigation of Ms. Ortiz was conducted by Shanetta

  Green, an Internal Affairs detective, and overseen by Fabio Sanchez, an

  Internal Affairs sergeant. The irrevocable, form-letter resignation was an

  unofficial policy or custom within the City of Miami Police Department, known

  to and adopted by Rodolfo Llanes, the chief of police at the time; Jorge

  Colina, the assistant chief in charge of investigations, and Jose A. Rodriguez,

  the major in command of the Internal Affairs Section. They enlisted then-Lt.

  (now Capt.) Ortiz, One, to secure irrevocable, on-the-spot resignations

  from at least four City police officers under the guise of his being, as FOP

  president, their representative in the Internal Affairs investigations, and,

  Two, to short-circuit the Florida statute that gives law enforcement officers


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  the right to inspect all of the evidence that has been gathered against them

  in an internal affairs investigation — because there was virtually none. The

  purpose was to give Miamians the impression that Chief Llanes’s Internal

  Affairs unit — which reported directly to then Assistant Chief (now chief)

  Colina — was getting tough on crooked cops. Its unconstitutional flaw was

  that it deprived innocent police officers, such as Ms. Ortiz, of their right to

  due process. Ms. Ortiz sues the City, Chief Llanes, then-Assistant Chief

  Colina, Major Rodriguez, then-Lieutenant (now-Captain) Ortiz, Sergeant

  Sanchez and Detective Green under 42 U.S.C. § 1983 for violating her rights

  not to be deprived, through constructive discharge, of liberty (her good

  name) or property (her employment as a police officer) without due process.

  She seeks damages, including punitive damages, injunctive relief and her

  attorney’s fees and litigation expenses.

                             Jurisdiction and Venue

        2.    This claim arises under the Fifth Amendment to the United

  States Constitution, as extended to the States by the Fourteenth

  Amendment, and 42 U.S.C. § 1983. This Court has jurisdiction pursuant to

  28 U.S.C. § 1331. The claim being sued upon arose in Miami-Dade, Florida,

  which is where the defendants at all material times resided or did business.

                                       Parties

        3.    Plaintiff Melanie Ortiz at all times material was a City of Miami

  police detective whose property right to her employment was protected by

  the City of Miami Civil Service Ordinance and §§ 112.531-535, the so-called


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  “Law Enforcement Officers’ Bill of Rights,” and the choice of taking any

  proposed discipline to either binding arbitration under the collective

  bargaining agreement’s grievance procedure or to the Civil Service Board.

        4.    Defendant City of Miami is, and at all times material was, a

  Florida municipal corporation that operated towards Ms. Ortiz under color of

  state law and whose ability to terminate its police officers was limited to

  instances when it had “just cause” to do so, subject to binding arbitration.

        5.    Defendant Rodolfo Llanes was at all times material Miami’s Chief

  of Police. Mr. Llanes at all times material acted towards Ms. Ortiz pursuant

  to the authority bestowed upon him by the City and under color of state law.

  He is sued in his individual capacity.

        6.    Defendant Jorge Colina was at all times material Miami’s

  Assistant Chief of Police for investigations. Mr. Colina at all times material

  acted towards Ms. Ortiz pursuant to the authority bestowed upon him by the

  City and under color of state law. He is sued in his individual capacity.

        7.    Defendant Jose A. Rodriguez was at all times material a major of

  police in command of the Internal Affairs Section of the Miami Police

  Department. Mr. Rodriguez at all times material acted towards Ms. Ortiz

  pursuant to the authority bestowed upon him by the City and under color of

  state law. He is sued in his individual capacity.

        8.    Defendant Javier Ortiz was at all times material a lieutenant of

  police and president of Miami’s Chief of Police. Mr. Llanes at all times

  material acted towards Ms. Ortiz pursuant to the authority bestowed upon


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  him by the City and under color of state law. He is sued in his individual

  capacity.

          9.    Defendant Fabio Sanchez was at all times material a sergeant of

  police in the Internal Affairs section. Mr. Sanchez at all times material acted

  towards Ms. Ortiz pursuant to the authority bestowed upon him by the City

  and under color of state law. She is sued in her individual capacity.

          10.   Defendant Fraternal Order of Police, Walter E. Headley, Jr.,

  Miami Lodge No. 20 (“FOP”), is the public-employee labor union that

  represents police officers, sergeants, lieutenants and captains employed by

  the City of Miami, including in disciplinary matters.

                   General Allegations as Relates to Count I

          11.   During mid-December 2016, Ms. Ortiz, a Special Victims

  detective, was summoned to the Internal Affairs Section to give a statement

  in an investigation into tow-truck operators’ bribing police officers during the

  2013-2014 period when she was working as a patrol officer in Little Havana.

          12.   An FBI investigation had resulted in the arrests and conviction of

  one police officer and two police aides, but there had been no arrests by the

  City.

          13.   Although Ms. Ortiz initially thought that she was being

  interviewed as to what she had observed others do, since she had had no

  involvement with any kickback schemes.

          14.   After she arrived at Internal Affairs with her FOP representative,

  however, Sgt. Sanchez called the representative aside for a private chat;


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  when the representative returned, he informed Ms. Ortiz that he would not

  be able to represent her, but that Sgt. Sanchez recommended that she be

  represented by Lt. Ortiz.

        15.   Before she left Internal Affairs, Sgt. Sanchez told Ms. Ortiz that if

  she had “better” information about the tow-truck kickback schemes, he

  would help her out.

        16.   When Ms. Ortiz returned the December 16, Lt. Ortiz was

  standing outside the Internal Affairs building, shirtless and wearing

  department-issued bicycle shorts as he leaned against his car.

        17.   When Ms. Ortiz said that she wished to review her file before the

  interview, as she is guaranteed to be able to do both by Article 8 of the CBA

  and § 112.532(1)(d), FLA. STAT., he told her that she could not, that he had

  reviewed it an hour earlier and that her only option to avoid going to jail —

  and having her daughter learn about her arrest through the media — would

  be to immediately and irrevocably resign.

        18.   After sitting upstairs in the Internal Affairs office for a while, Ms.

  Ortiz attempted to go downstairs to her unmarked police car so that she

  could call another police officer or superior to help her, Sgt. Sanchez she

  should not. Lt. Ortiz, meanwhile, denied Ms. Ortiz’s request for an FOP

  lawyer.

        19.   Lt. Ortiz typed out a memo for Ms. Ortiz to sign:

        I, Officer Melanie Ortiz P .I. N. 29186 voluntarily resign with no
        threats, rewards or promises from my position as a Police Oflicer with
        the City of Miami Police Department. This redline memorandum is
        irrevocable and my resignation will be effective immediately. I have

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        spoken to my representative of choice, Lieutenant Javier Ortiz who is
        the President of the Miami Fraternal Order of Police. I am resigning for
        personal reasons and believe that this is the best option for myself and
        my family.

        20.    When the Florida Department of Law Enforcement’s Bureau of

  Standards inquired about the City’s investigation, Major Rodriguez informed

  it that the investigation was ongoing and that if FDLE needed more

  information, to contact Detective Green.

        21.    Major Rodriguez wrote the FDLE July 14, 2017 that:

        Officer Ortiz used her position to steer business towards, or otherwise
        assist, pirate tow truck operators in soliciting motorists and towing
        their vehicles to corrupt collision repair companies who were also
        involved in the criminal solicitation. (See attached) [Handwritten]

        22.    Appended was a 12-page Inter-Office memorandum written to

  Major Rodriguez by Detective Green, purporting to document numerous cell-

  phone and text communications between Ms. Ortiz and Armando Morales, a

  tow-truck driver notorious for prowling Little Havana with a police scanner,

  listening for accident calls.

        23.    The memo:

               a.    quoted not only a confidential source, but also tape-

  recorded undercover conversations in which Ms. Ortiz made self-

  incriminating statements;

               b.    accused Ms. Ortiz of, among other things, telephoning Mr.

  Morales from accident scenes, taking cash kickbacks, getting her personal

  car, a Nissan Maxima, painted for free at an outlaw body shop to which Mr.




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  Morales routinely took vehicles and having damage to her marked police car

  surreptitiously repaired at the same body shop.

        24.   However:

              a.   Detective Green admitted to FDLE in a November 20, 2017

  e-mail that the City possessed no evidence against Ms. Ortiz:

        [W]e did have call logs, recorded calls, and uc [undercover] recordings
        but they belong to the FBI and would have to be requested thru them.
        We also had case files from the tow companies but they were also
        received thru the FBI and have been returned as well.

        Sorry that there is not much I can give you. . . [M]ost of the evidence
        received was thru the FBI because it was a federal case. . . . These
        were the last individuals that had involvement in the scheme we were
        investigating but not enough to go federal and without the evidence
        being released due to grand jury and no recorded hand to hand
        transactions it was not enough for the state to move on. They were all
        handled administratively and were provided the opportunity to review
        the evidence against them and to discuss with their representative of
        choice. Some chose to provide a Garrity statement and others simply
        resigned.

              b.   Notwithstanding that one police officer and two police

  aides were arrested and pleaded guilty, Mr. Morales was not arrested.

              c.   Ms. Ortiz paid for her car to be painted with a money order

  from her bank.

              d.   Ms. Ortiz never damaged a marked police car; Detective

  Green offered no evidence of any vehicle assigned to Ms. Ortiz ever having

  been damaged.

        25.   Detective Green’s reference in her e-mail to FDLE about “[t]hese

  were the last individuals that had involvement in the scheme we were




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  investigating” refers to Ms. Ortiz, and Officers Artice Peoples, Reynaldo Irias

  and Yesid Ortiz:

                 a.   Mr. Peoples, who was relieved of duty in December 2015,

  along with the one police officer who was arrested by the FBI and pleaded

  guilty, was never charged, but resigned in or about May 2017;

                 b.   Messrs. Irias and Ortiz each resigned May 10, 2017, having

  been summoned to Internal Affairs and told that if they did not resign, they

  would be fired.

                 c.   The language of their resignations was almost a verbatim

  copy of the memo that Lt. Ortiz drafted for Ms. Ortiz December 16, 2015:

        Effective immediately (5/10/17),I am voluntarily resigning from my
        position as a Miami Police Officer. No threats, rewards or promises
        have ben made to me. This redline memorandum is irrevocable. I
        have spoken to my representative of choice, Lieutenant Javier Ortiz
        who is a representative of the Miami Fraternal Order of Police. I am
        resigning for personal reasons and believe that this is the best option
        for myself and my family.

                 d.   Mr. Ortiz said in the grievance that he filed concerning the

  coerced resignation that he had no idea what he was being accused of, but

  that Lt. Ortiz had thold him that he was aware of the situation and “Your

  best bet is to resign so you can keep your certification and your retirement,

  the FOP will most likely NOT represent you.”

                 e.   Mr. Irias said in his grievance that he also had no idea why

  he had been summoned to Internal Affairs, but that a lieutenant told him

  that “we are recommending termination and I already talked to Javier Ortiz

  about this.”


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              f.      Although the City is resisting, and appealing to the District

  Court of Appeal, a circuit court judge has ruled that Messrs. Irias and Ortiz

  can grieve their “resignations” and that an arbitrator would have jurisdiction

  to overturn them.

        26.   During this period, Assistant Chief Colina maintained close

  control of Internal Affairs. Chief Llanes, One, accepted the irregular, cookie-

  cutter resignations, and, Two, had his name on the top of the termination

  recommendations in Messrs. Irias and Ortiz’s termination recommendations.

        27.   Municipal employees such as Ms. Ortiz enjoy clearly established

  Fifth Amendment rights not to be deprived of property or liberty without due

  process of law by being coerced into resigning their vested public

  employment.

        28.   The City of Miami, through the CSAB, Messrs. Llanes, Colina,

  Rodriguez, Ortiz, Sanchez and Ms. Green, in both each’s official and

  individual capacity, and in concert with the FOP, deprived Ms. Ortiz of her

  rights to due process.

        29.   Mr. Llanes was the City’s official decision-maker in the

  termination of Ms. Ortiz, by having authorized and knowingly countenanced

  the use of coerced waivers of due process rights to police officers accused of

  wrongdoing, its final policy maker: there was no meaningful review within

  the City of Miami government concerning the coerced resignations.




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        30.   As a direct, natural and proximate result of defendant’s actions

  towards Ms. Ortiz, Ms. Ortiz has suffered damages, including but not limited

  to:

              a.    lost earnings;

              b.    diminishment of earning capacity; and

              c.    emotional distress and mental anguish.

        31.   Each of the individual defendants, and the FOP, exhibited wilful

  disregard of Ms. Ortiz’s clearly established constitutional rights to due

  process, entitling her to recover punitive damages against each.

        32.   If not enjoined by this Court to cease its deprivation of Ms.

  Ortiz’s constitutional rights to due process — including by being mandatorily

  enjoined to reinstate Ms. Ortiz as a police detective, and to restore her

  benefits and seniority — the City of Miami would continue to deprive Ms.

  Ortiz of due process.

        33.   Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover her

  costs and litigation expenses, including a reasonable attorney’s fee, for

  bringing this action.

        WHEREFORE, Plaintiff, Melanie Ortiz, prays that this Court will grant

  judgment for her, and against defendants, City of Miami, Rodolfo Llanes,

  Jorge Colina, Jose A. Rodriquez, Javier Ortiz, Fabio Sanchez, Shanetta

  Green, and Fraternal Order of Police, Walter E. Headley, Jr., Miami Lodge No.

  20:




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        One, determining that the City, the individual defendants and the FOP

  violated Ms. Ortiz’s rights to due process under the Fifth and Fourteenth

  Amendments;

        Two, enjoining the City, both preliminarily and permanently, to cease

  retaliating against Ms. Ortiz and to reinstate her as a police detective, with a

  full restoration of her rank, seniority and benefits;

        Three, awarding compensatory damages against the City of Miami,

  the individual defendants and the FOP, jointly and severally, and awarding

  punitive damages against the individual defendants and the FOP;

        Four, awarding costs, including attorney’s fees and litigation

  expenses, against the City of Miami, the individual defendants and the FOP,

  jointly and severally, and

        Five, granting such other and further relief as is just.

                               Count II: Conspiracy

        34.   Plaintiff realleges, as if fully set forth in Count II, ¶¶ 11-33.

        35.   The individual defendants conspired with the FOP to affect the

  coerced resignation of Ms. Ortiz.

        WHEREFORE, Plaintiff, Melanie Ortiz, prays that this Court will grant

  judgment for her, and against defendants, Rodolfo Llanes, Jorge Colina, Jose

  A. Rodriquez, Javier Ortiz, Fabio Sanchez, Shanetta Green, and Fraternal

  Order of Police, Walter E. Headley, Jr., Miami Lodge No. 20:




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        One, awarding compensatory and punitive damages against the

  individual defendants and the FOP, jointly and severally, and awarding

  punitive damages against the individual defendants and the FOP, and

        Two, granting such other and further relief as is just.

                                Count III: Fraud

        36.   Plaintiff realleges, as if fully set forth in Count II, ¶¶ 11-33.

        37.   The individual defendants misrepresented to Ms. Ortiz that the

  City had evidence of engaging in criminal behavior to induce her to resign.

        WHEREFORE, Plaintiff, Melanie Ortiz, prays that this Court will grant

  judgment for her, and against defendants, Rodolfo Llanes, Jorge Colina, Jose

  A. Rodriquez, Javier Ortiz, Fabio Sanchez, Shanetta Green, and Fraternal

  Order of Police, Walter E. Headley, Jr., Miami Lodge No. 20:

        One, awarding compensatory and punitive damages against the

  individual defendants and the FOP, jointly and severally, and awarding

  punitive damages against the individual defendants and the FOP, and

        Two, granting such other and further relief as is just.

                         Count IV: Declaratory Relief

        38.   Plaintiff realleges, as if fully set forth in Count II, ¶¶ 11-33.

        39.   The FOP contract with the City of Miami is broad enough to

  permit Ms. Ortiz to arbitrate whether her “resignation” was valid.

        WHEREFORE, Plaintiff, Melanie Ortiz, prays that this Court will

  determine and declare that she may individually file a grievance under the

  CBA and arbitrate her involuntary “resignation.”


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                                                                                  Respectfully Submitted,

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